 Case 2:24-cv-06595-MWF-MAR              Document 1        Filed 08/05/24      Page 1 of 6 Page ID #:1



   Kevin Ryan Behrendt CASBN#211879
 1 Dermer Behrendt
   13101 Washington Boulevard, Suite 407
 2 Los Angeles, CA 90066
   Phone: (310) 614-2492
 3 Facsimile: (310) 954-9206
   E-mail: kevin@dermerbehrendt.com
 4
   Attorney for Plaintiff
 5 SOLO INDUSTRIES, INC.

 6

 7                                UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 8

 9                                                       NO.
      SOLO INDUSTRIES, INC,
10                                                       COMPLAINT FOR: PATENT
                     Plaintiff                           INFRINGEMENT
11    v.
12    HERBONITE, INC.,
13                   Defendant
14

15          Plaintiff, Solo Industries, Inc. by its attorneys, for its Complaint against Defendant

16 Herbonite, Inc. alleges as follows:

17                                          INTRODUCTION
18
            1.      This is an action for infringement of United States Patent No. 8,881,738 (the patent-
19
     in-suit) arising under the patent laws of the United States, Title 35, United States Code, Sections
20
     100 et seq. This action relates to a smoking device with an integrated lighter mechanism.
21

22                                               PARTIES

23          2.      Plaintiff Solo Industries, Inc. (“Solo Industries” or “Plaintiff”) is a corporation

24 organized and existing under the laws of the State of California, having a principal place of

25 business at 16 Fleet St. #2, Venice, CA 90291.

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     COMPLAINT -- 1
 Case 2:24-cv-06595-MWF-MAR                 Document 1      Filed 08/05/24      Page 2 of 6 Page ID #:2




            3.      Upon information and belief, Defendant Herbonite, Inc. (“Herbonite” or
 1

 2 “Defendant”) is a corporation organized and existing under the laws of the California, having a

 3 principal place of business at 14532 Friar St, Ste I, Van Nuys, CA 91411.

 4                                       JURISDICTION AND VENUE
 5
            4.      This is a civil action for patent infringement arising under the patent laws of the
 6
     United States, 35 U.S.C. § 1 et seq.
 7
            5.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.
 8
     §§ 1331 (federal question) and 1338(a) (patent infringement).
 9

10          6.      This Court has personal jurisdiction over Herbonite because, among other things,

11 Defendant has purposely availed itself of the rights and benefits of the laws of California by

12 engaging in systematic and continuous contacts with the state such that it should reasonably

13
     anticipate being haled into court here. Herbonite is registered to conduct business in the California,
14
     under file number 4136773 and has a regular and established place of business in this district at
15
     14532 Friar St, Ste I, Van Nuys, CA 91411.
16

17          7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 and § 1400(b) because,

18 upon information and belief, Herbonite has committed acts of infringement of the patent-in-suit in

19 this district by offering for sale infringing smoking products and has a regular and established
20 place of business in this district.

21
            BACKGROUND AND FACTS OR SOLO INDUSTRIE’S PATENT RIGHTS
22
            8.      On November 11, 2014, U.S. Patent No. 8,881,738 (“the ‘738 Patent”), titled
23
     “Integrated Smoking Device”, was issued to named inventor Gary Bryman and assigned to Solo
24

25 Industries, Inc. A true and correct copy of the ‘738 Patent is attached to this Complaint as Exhibit

26 A. The ‘738 patent issued from Application No. US 13/046,129, filed on March 11, 2011 and was

     a continuation-in-part application of Application No. US 11/260,018, which was filed on Oct. 26,

     2005. See Id. The ‘738 patent relates to “an integrated smoking device that includes a bowl for
     COMPLAINT -- 2
 Case 2:24-cv-06595-MWF-MAR                Document 1        Filed 08/05/24      Page 3 of 6 Page ID #:3




     holding smoking material, an ignition source, a fuel source directing fuel at the bowl, and a
 1

 2 chamber to carry smoke to the user. Some embodiments may include a housing or a cover over the

 3 bowl.” The ‘738 patent has a total of 1-8 claims.

 4          9.       Solo Industries owns the entire right, title and interest in and to the ‘738 Patent, as
 5
     evidenced by the assignment recorded with the United States Patent and Trademark Office
 6
     (USPTO) on or about September 3, 2014 and assigned Reel/Frame designation 033658/0663. A
 7
     copy of the Patent Assignment of Application US 13/046,129 recorded with the USPTO is attached
 8
     as Exhibit B.
 9

10          10.      At no time has Solo Industries licensed its rights under the ‘738 Patent to the

11 Herbonite.

12          DEFENDANTS’ INFRINGING ACTIVITY OR PATENT INFRINGEMENT
13
            11.      Solo Industries repeats and incorporates by reference the allegations of paragraphs
14
     1-10 above.
15
            12.      The claims of the ‘738 patent carry a presumption of validity under 35 U.S.C. §
16

17 282(a) and are enforceable.

18          13.      Solo Industries is the owner of the entire right, title and interest in the‘738 patent

19 by assignment and possesses the right to sue for and obtain equitable relief and damages for
20 infringement of the patent-in-suit.

21
            14.      Herbonite has directly infringed and continues to directly infringe the ‘738 patent
22
     by making, using, selling, and offering for sale in the United States, and/or importing into the
23
     United States an integrated smoking device identified by the designation “Wikilite” (hereinafter
24

25 “Accused Product”), embodying the invention defined by one or more claims of the ‘738 patent,

26 without authority or license from Solo Industries. An image of the Accused Product taken from

     Herbonite’s website is included below and attached as Exhibit C:



     COMPLAINT -- 3
 Case 2:24-cv-06595-MWF-MAR               Document 1        Filed 08/05/24      Page 4 of 6 Page ID #:4




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14           15.      More particularly, upon information and belief, Herbonite has infringed and
15
     continues to infringe at least Claim 1 of the ‘738 patent because the Accused Product includes
16
     every limitation of Claim 1. Claim 1 of the patent-in-suit recites:
17
             An integrated smoking device comprising:
18

19           a housing;

20           a bowl disposed in the housing;

21           a smoke tube coupled to the bowl at a bowl end allowing gaseous flow from the bowl end
22
     to a draw end;
23
             a flame assembly associated with a fuel aperture for directing fuel for a flame near the bowl
24
     and approximately parallel to the bowl;
25
             an igniter arranged near the fuel aperture so that when the fuel aperture is directing fuel,
26
     the igniter ignites the fuel; and



     COMPLAINT -- 4
 Case 2:24-cv-06595-MWF-MAR               Document 1        Filed 08/05/24      Page 5 of 6 Page ID #:5




            a moveable arm, said moveable arm externally and proximately mounted near the bowl,
 1

 2 the moveable arm further comprising the flame assembly and an air intake aperture;

 3          wherein said moveable arm has an active position and an inactive position,

 4          wherein said moveable arm is thrust above the housing in the active position and is lowered
 5
     towards the housing in the inactive position; and
 6
            wherein said flame assembly further comprises said fuel aperture and said igniter;
 7
            a user control arranged such that a user may activate the igniter and cause fuel to flow from
 8
     the fuel aperture, so as to produce a flame directed at the bowl, in a single operation.
 9

10          16.      The Accused Product includes all of the elements of Claim 1 of the ‘738 Patent.

11          17.      Solo Industries has suffered injury, including irreparable injury, as a result of
12 Herbonite’s infringement. Solo Industries is therefore entitled to preliminary and permanent

13
     injunctive relief restraining and enjoining Herbonite from infringing the patent-in-suit.
14
            18.      By reason of Herbonite’s infringement, Solo Industries is suffering and will
15
     continue to suffer substantial damages in an amount to be determined at trial.
16

17                                        PRAYER FOR RELIEF

18 WHEREFORE, Plaintiff requests that this Court grant the following relief:

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            19.      A judgment that Herbonite has infringed one or more claims of the patent-in-suit;
20
            20.      An order preliminarily and permanently restraining and enjoining Herbonite, its
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     officers, agents, attorneys and employees, and those acting in privity or concert with Herbonite,
22
     from engaging in the manufacture, use, offer for sale or sale within the United States, or
23

24 importation into the United States, of the Accused Product until after the expiration date of the

25 patent-in-suit;

26          21.      Damages or other monetary relief to Solo Industries;

            22.      Costs and reasonable attorneys’ fees relating to this action pursuant to 35 U.S.C. §

     285; and
     COMPLAINT -- 5
 Case 2:24-cv-06595-MWF-MAR               Document 1        Filed 08/05/24   Page 6 of 6 Page ID #:6




            23.     Such other and further relief as the Court may deem just and proper.
 1

 2                                  DEMAND FOR TRIAL BY JURY

 3 Plaintiff demands a trial by jury on all issues that are so triable.

 4
     DATED this 15th day of July, 2024.
 5
                                       By /s/ Kevin Ryan Behrendt
 6                                       Local Counsel
                                         Kevin Ryan Behrendt CASBN#211879
 7                                       13101 Washington Boulevard, Suite 407
                                         Los Angeles, CA 90066
 8                                       Phone: (310) 614-2492
                                         Facsimile: (310) 954-9206
 9
                                         E-mail: kevin@dermerbehrendt.com
10
                                       By /s/ Greg Latham
11                                       Greg Latham
                                         Jared Rovira
12                                       Pro Hac Vice Application Forthcoming
                                         Intellectual Property Consulting
13                                       400 Poydras Street, Suite 1400
                                         New Orleans, LA 70130
14                                       T:(504) 322-7166/F:(504) 322-7184
15                                       E-mail: glatham@iplawconsulting.com
                                         E-mail: jrovira@iplawconsulting.com
16                                        ATTORNEYS FOR SOLO INDUSTRIES, INC.
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     COMPLAINT -- 6
